         Case 1:21-cr-00175-TJK Document 336 Filed 04/08/22 Page 1 of 13




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
        v.                                     :       Criminal No. 21-cr-175-4 (TJK)
                                               :
CHARLES DONOHOE,                               :
                                               :
                       Defendant.              :


                                  STATEMENT OF OFFENSE

        Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Charles Donohoe, with the concurrence of his attorneys, agree and stipulate to the below factual

basis for the defendant’s guilty plea. If this case were to proceed to trial, the parties stipulate that

the United States could prove the below facts beyond a reasonable doubt.

                                            Background

        1.     Donohoe and his co-defendants, Enrique Tarrio, Ethan Nordean, Joseph Biggs,

Zachary Rehl, and Dominic Pezzola, were affiliated through their membership in the Proud Boys

organization. The Proud Boys describes itself as a “pro-Western fraternal organization for men

who refuse to apologize for creating the modern world; aka Western Chauvinists.” Throughout the

United States, there are local Proud Boys chapters, which are typically led by chapter “presidents.”

Each chapter has a degree of autonomy.

        2.     Donohoe joined the Proud Boys in 2018 and became the president of his local Proud

Boy chapter in North Carolina. As of January 6, 2021, Donohoe was a fourth-degree member of

the Proud Boys. A fourth-degree member of the Proud Boys is the highest “rank” within the Proud

Boys.
         Case 1:21-cr-00175-TJK Document 336 Filed 04/08/22 Page 2 of 13




       3.      Donohoe traveled to Washington, D.C., as a member of the Proud Boys for the

election rally on December 12, 2020.

       4.      On the evening of December 12, 2020, several individuals, including Proud Boys

members, were involved in an altercation in downtown Washington, D.C. During that altercation,

a member of the Proud Boys from North Carolina (“Person-1”), among others, was stabbed.

       5.      Also on the evening of December 12, 2020, a group of Proud Boys were marching

in the streets near Asbury United Methodist Church. Members of the Proud Boys stole a banner

from the church’s property. The banner was then burned. The Proud Boys Chairman, Enrique

Tarrio, later publicly admitted that he was present and that he had burned the banner.

       6.      As a member of the Proud Boys since 2018 and an attendee at prior national rallies

attended by the Proud Boys, Donohoe knew and understood that some members of the Proud

Boys—known internally as the “rally” boys—would resort to unlawful conduct to achieve an

objective.

                         Donohoe’s Participation in the Plot to
             Corruptly Obstruct the Certification of the Electoral College Vote

              Before January 6, 2021 – the Creation of the Ministry of Self Defense

       7.      On December 19, 2020, plans were announced for a protest event in Washington,

D.C., on January 6, 2021, which protest would coincide with Congress’s certification of the

Electoral College vote.

       8.      On or before December 20, 2020, Tarrio approached Donohoe and solicited his

interest in joining the leadership of a new chapter of the Proud Boys, called the Ministry of Self

Defense (“MOSD”). Donohoe understood from Tarrio that the new chapter would be focused on




                                                2
         Case 1:21-cr-00175-TJK Document 336 Filed 04/08/22 Page 3 of 13




the planning and execution of national rallies and would consist of hand-selected “rally” boys.

Donohoe felt privileged to be included and agreed to participate.

       9.      On December 20, 2020, Tarrio created an encrypted message group for the leaders

of the MOSD. The leaders of MOSD included Nordean, Biggs, Rehl, and Donohoe.

       10.      Immediately after its formation, Tarrio and others in the MOSD leadership group

began making preparations for the MOSD’s attendance in Washington, D.C., on January 6, 2021.

Donohoe understood that the purpose of the rally in Washington, D.C., on January 6, 2021, was to

stop the certification of the Electoral College vote.

       11.     Donohoe initially advised the group that he did not plan to travel to Washington,

D.C., on January 6, but that he would help with the planning.

       12.     Members of the MOSD leadership discussed how to organize and direct the group

using a top-down structure. Tarrio, Nordean, and Biggs formed a three-person “Marketing”

council. Donohoe understood this council to be the top level of the MOSD leadership structure,

with Tarrio superior to Nordean and Biggs. Rehl and two other members were to be “Operations”

leaders that would take direction from the “Marketing” council.

       13.     Donohoe and a small group of other members formed the regional leadership. As a

regional leader, Donohoe committed to follow the commands of those above him including Tarrio,

Nordean, Biggs, and Rehl. As a regional leader, Donohoe was responsible for recruiting trusted

Proud Boys members to join the MOSD. Any member selected to join the MOSD was expected to

follow the commands of leadership. Proud Boys members recruited into the MOSD chapter were

repeatedly admonished by MOSD leadership, including Tarrio and Donohoe, that they were to

follow the commands of leadership and that, if they did not, they would be removed from the

MOSD chapter.

                                                  3
        Case 1:21-cr-00175-TJK Document 336 Filed 04/08/22 Page 4 of 13




       14.    On December 27, 2020, Tarrio created another encrypted messaging group to

recruit potential members of the MOSD (the “MOSD Prospect Group”). On that same day,

Donohoe reposted a message to prospective members in the MOSD Prospect Group in which he

stated that the D.C. government was expected to limit access to Washington, D.C., on January 6.

Donohoe’s message stated “They want to limit the presence so that they can deny Trump has the

People’s support. We can’t let them succeed. This government is run FOR the People, BY the

People....Congress needs a reintroduction to that fact.” When he reposted this comment, Donohoe

understood that Congress was responsible for certifying the Electoral College vote on January 6.

       15.    On December 30, 2020, Tarrio convened a video call for prospective members of

the MOSD. On this video call, Tarrio, Donohoe, and others in MOSD leadership emphasized that

members of the MOSD were to follow the commands of leadership.

       16.    On January 2, 2021, Tarrio created an encrypted message group for recruits who

had been accepted to become members of the MOSD (the “MOSD Members Group”). Tarrio

posted a message that read, “Open for business.” The group included at least 65 members,

including Tarrio, Nordean, Biggs, Rehl, and Donohoe. Dominic Pezzola was added to the MOSD

Members Group by Person-1, who had been designated a regional leader of the MOSD. Donohoe

understood that Pezzola had been fast-tracked into membership in the Proud Boys by Tarrio.

       17.    At least as early as January 4, 2021, and prior to Donohoe’s decision to travel to

D.C., Donohoe was aware that members of MOSD leadership were discussing the possibility of

storming the Capitol. Donohoe believed that storming the Capitol would achieve the group’s goal

of stopping the government from carrying out the transfer of presidential power. Donohoe

understood that storming the Capitol would be illegal.



                                                4
          Case 1:21-cr-00175-TJK Document 336 Filed 04/08/22 Page 5 of 13




                Before January 6, 2021 – Donohoe Travels to Washington, D.C.

         18.   On January 4, 2021, after being informed of Tarrio’s impending arrest pursuant to

a warrant issued by D.C. Superior Court, Donohoe made the decision to travel to Washington,

D.C., with the MOSD to participate in the events of January 6, 2021. Donohoe believed that

Tarrio’s arrest could create a leadership void for the MOSD, and Donohoe wanted to assist the

group.

         19.   Also on January 4, 2021, Donohoe created a new group on the encrypted messaging

application for MOSD leadership (“New MOSD Leaders Group”) that did not initially include

Tarrio. Donohoe then advised the other leaders, “Each one of us should personally clear our history

of that MOSD chat.” Rehl responded, “you gotta manually delete each message from each chat”

and then added, “since [Tarrio] knew the cops were for him, hopefully he logged outta” the

encrypted messaging service. Donohoe responded, “Well at least they won’t get our boots on

ground plans because we are one step ahead of them.” Donohoe knew that discussions among

MOSD leaders and members on the encrypted messaging application included discussion of

unlawful activity to take place in Washington, D.C., on and around January 6.

         20.   Donohoe then created a new group on the encrypted messaging application for the

MOSD members and advised the group to leave the earlier group because “we are nuking that

one.” Another member of the group advised that he had “removed everyone from the other group”

and that it had been “nuked.” After its creation, the new MOSD member group (“New MOSD

Member Group”) included approximately 90 participants in total, including Nordean, Biggs, Rehl,

Donohoe, Pezzola, and Person-1.

         21.   At 7:15 p.m. on January 4, Donohoe posted a message on the New MOSD Member

Group that read, “Hey have been instructed and listen to me real good! There is no planning of any

                                                5
           Case 1:21-cr-00175-TJK Document 336 Filed 04/08/22 Page 6 of 13




sorts. I need to be put into whatever new thing is created. Everything is compromised and we can

be looking at Gang charges.” Donohoe then wrote, “Stop everything immediately” and then “This

comes from the top.” Donohoe’s messages in the New MOSD Member Group repeated those

posted by a participant in the MOSD Member Group.

          22.   At 9:17 p.m. on January 5, 2021, Biggs posted a message on the New MOSD

Member Group that read, “We just had a meeting woth [sic] a lot of guys. Info should be coming

out” and then posted “Just spoke with Enrique [Tarrio].” At approximately 9:20 p.m., Biggs posted

a message that read, “We have a plan. I’m with rufio.” Donohoe responded, “What’s the plan so I

can pass it to the MOSD guys.” Biggs responded, “I gave Enrique [Tarrio] a plan. The one I told

the guys and he said he had one.” Donohoe understood from these discussions that a tactical plan

for January 6, 2021, was being discussed at least among Tarrio, Nordean, and Biggs.

          23.   Donohoe was not given details of the plan referred to by Biggs, but Donohoe

understood from discussions among the MOSD and other Proud Boys that the objective in

Washington, D.C., on January 6, 2021, was to obstruct, impede, or interfere with the certification

of the Electoral College vote. Donohoe understood from discussions that the group would pursue

this through the use of force and violence, in order to show Congress that “we the people” were in

charge.

          24.   At 9:20 p.m. on January 5, 2021, Tarrio was added to the New MOSD Leaders

Group. At 9:36 p.m. on January 5, 2021, Donohoe added Tarrio to the New MOSD Member Group.

Donohoe added Tarrio to the New MOSD because Tarrio remained the leader of the MOSD.

          25.   At 12:01 a.m. on January 6, 2021, Tarrio posted a message on the New MOSD

Leaders Group. At 12:03 a.m., Donohoe posted, “Standby” and then reposted the instructions that

had been issued in the Boots on Ground Group—a group meant for any Proud Boys members

                                                6
        Case 1:21-cr-00175-TJK Document 336 Filed 04/08/22 Page 7 of 13




attending the January 6, 2021, protests—and the New MOSD Members Group regarding the plan

to meet at the Washington Monument at 10 a.m. Donohoe reposted the instructions in the New

MOSD Leaders Group so that Tarrio would know the instructions that had been issued by Donohoe

and other leaders to the MOSD membership.

             January 6, 2021 – Donohoe and Co-Conspirators March to the Capitol

       26.     Donohoe arrived in Washington, D.C., by car around 6 a.m. on January 6, 2021. At

6:37 a.m. on January 6, 2021, Donohoe posted a message to the New MOSD Leaders Group that

asked, “Are we gonna do a commanders briefing before the 10 a.m.?” Subsequently, Donohoe

posted a message to the New MOSD Members Group and Boots on Ground group that he was on

his way to the Washington Monument. Donohoe added, “I have the keys until Rufio [Nordean]

and Zach [Rehl] show up.” Donohoe understood Nordean and Rehl to be his superiors in the

MOSD and deferred to their leadership.

       27.     Nordean, Biggs, and Rehl arrived at the Washington Monument after Donohoe.

Nordean told Donohoe that the MOSD and the rest of the Proud Boys members would march

together and that the MOSD would not break off to do something different. Donohoe understood

that, as a Proud Boys elder, Nordean would carry a degree of authority over other Proud Boys even

if they were not in MOSD. Nordean subsequently made an announcement that the group would be

marching to the Capitol but would be returning for the speech. It soon became evident to Donohoe

that Nordean and Biggs did not intend to lead the group back to President Trump’s speech.

       28.     Shortly after 10 a.m., Nordean and Biggs led a group of 100 or more Proud Boys,

including Donohoe, on a march away from the Washington Monument towards the Capitol.

Nordean and Biggs led the group on a march around the Capitol, ending at the Peace Circle on the

west side of the Capitol grounds.

                                               7
        Case 1:21-cr-00175-TJK Document 336 Filed 04/08/22 Page 8 of 13




       29.     Shortly after 12 p.m. Nordean and Biggs directed the group to a position

approximately two blocks west of the Capitol and directed them to wait. While waiting in that

area, Donohoe posted that he was at the Capitol “WITH 200-300 PBS.”

       30.     Nordean and Biggs then mustered the group of assembled Proud Boys, including

Donohoe, and directed them back toward the Capitol. Donohoe understood that Nordean and Biggs

were searching for an opportunity to storm the Capitol.

  January 6, 2021 – Donohoe and Co-Conspirators Attack the Capitol to Stop the Certification

       31.     The United States Capitol, which is located at First Street, SE, in Washington, D.C.,

is secured twenty-four hours a day by United States Capitol Police. Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by Capitol Police. Only

authorized people with appropriate identification are allowed access inside the Capitol.

       32.     On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public as the Joint Session of Congress convened inside the building. During the Joint Session,

elected members of the United States House of Representatives and the United States Senate met

to certify the vote count of the Electoral College of the 2020 Presidential Election. The Joint

Session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the

House and Senate adjourned to separate chambers to resolve a particular objection. United States

Vice President Michael R. Pence was present and presiding, first in the Joint Session, and then in

the Senate chamber.

       33.     As the proceedings continued in both the House and Senate chambers, and with

Vice President Pence present and presiding over the Senate, a large crowd gathered outside the

Capitol. As noted above, temporary and permanent barricades were in place around the exterior of



                                                 8
         Case 1:21-cr-00175-TJK Document 336 Filed 04/08/22 Page 9 of 13




the Capitol, and Capitol Police were present and attempting to keep the crowd away from the

Capitol and the proceedings underway inside.

       34.     Shortly before 12:53 p.m., Nordean and Biggs led the group back to the First Street

pedestrian entrance near the Peace Monument. Donohoe observed that at least one other large

group appeared to arrive at that location at the same time. Donohoe immediately noticed that the

crowd had become more aggressive. Donohoe recognized that the handful of officers who were

guarding the Capitol were severely outnumbered. Donohoe knew that the crowd was not permitted

to advance past the metal barriers.

       35.     Within minutes of arriving, members of the crowd breached the barriers and

advanced onto Capitol grounds. Donohoe saw Nordean and Biggs advance onto Capitol grounds

and followed them. Donohoe believed these actions were intended to stop the certification of the

Electoral College vote.

       36.     Shortly after 1:00 p.m., messages were posted in the New MOSD Leaders Group

by individuals who were not present at the Capitol that stated, “Push inside! Find some eggs and

rotten tomatoes!” and “They deploy the mace yet.” Donohoe responded, “We are trying.” Donohoe

posted this message to the other leaders without hesitation because he knew these actions were

consistent with the leadership’s objective.

       37.     Donohoe threw two water bottles at a line of law enforcement officers engaged in

the lawful performance of their official duties who were attempting to prevent the mob’s advance

in the West Plaza at the Capitol building. It was reasonably foreseeable to Donohoe that members

of the Proud Boys who had been led to the Capitol by Nordean and Biggs would engage in assaults

on law enforcement.



                                                9
        Case 1:21-cr-00175-TJK Document 336 Filed 04/08/22 Page 10 of 13




       38.     Shortly after throwing the water bottles at officers, Donohoe encountered Pezzola.

Donohoe recognized Pezzola as a Proud Boys member and confirmed that fact with another Proud

Boys member. Donohoe then grabbed the riot shield that Pezzola was holding and led Pezzola to

the rear of the West Plaza. After reaching the rear of the concrete area of the West Plaza, Donohoe

posted a message to MOSD leaders at 1:37 p.m. that read, “Got a riot shield.” While standing at

the rear of the plaza, Donohoe took a picture of Pezzola holding the riot shield and making a hand

gesture associated with the Proud Boys.

       39.     Donohoe then advanced back toward the Capitol in an effort to locate other Proud

Boys members. Upon arriving near the base of a set of concrete stairs, Donohoe recognized a

Proud Boys member known as “Milkshake” at the front of the crowd standing opposite a line of

officers. Donohoe heard shouting and other discussion among those surrounding him indicating

that the crowd was preparing to push toward the Capitol. Donohoe recognized that the concrete

stairs offered a path to advance further toward the Capitol. Donohoe and others in the crowd

pushed up the stairs. It was reasonably foreseeable to Donohoe that the use of force to advance

toward the Capitol would involve property destruction by members of the Proud Boys who had

been led to the Capitol by Nordean and Biggs.

       40.     After Milkshake initiated an altercation at the front of the crowd, Donohoe pushed

forward to advance up the concrete stairs toward the Capitol. The crowd overwhelmed law

enforcement who were attempting to stop their advance.

       41.     Donohoe advanced up the concrete stairs to assist the crowd in pushing forward

toward the Capitol. Law enforcement countered the attack with non-lethal measures, and Donohoe

eventually succumbed to pepper balls that had been deployed by officers. After becoming



                                                10
        Case 1:21-cr-00175-TJK Document 336 Filed 04/08/22 Page 11 of 13




overwhelmed by lachrymatory agents, Donohoe left the Capitol grounds and traveled back to a

hotel where he planned to stay on the evening of January 6, 2021.

        42.     Donohoe intended to use force and did, in fact, use force to obstruct, impede, or

interfere with the certification of the Electoral College vote, and did forcibly assault, resist, oppose,

impede, intimidate, or interfere with, officers or employees of the United States.

        43.     In taking such actions, Donohoe intended to influence or affect the conduct of the

United States government. He accomplished this by intimidating and coercing government

personnel who were participating in or supporting the Congressional proceeding, including

Members of Congress, Congressional staff, and law enforcement officers with the Capitol Police

and Metropolitan Police Department.

        44.     At approximately 4:03 p.m., Donohoe responded to a comment by Person-1 in

which Person-1 indicated that he had not seen anyone he knew breaking windows or entering the

building. Donohoe responded, “Def a video of one of our guys smashing out the window with a

stolen police riot shield.” Donohoe was referring to a video that he had seen of Pezzola breaking

a window of the Capitol building.

        45.     Shortly after 7:00 p.m., Donohoe posted messages in the New MOSD Leadership

Group that celebrated the accomplishments of the group. Among other things, Donohoe wrote,

“[w]e stormed the capitol unarmed” and then “[a]nd took it over unarmed” and then “[t]he people

are fucking done.”

        46.     Because of the dangerous circumstances caused by the unlawful entry into the

Capitol by Donohoe’s codefendants and others, including the danger posed by individuals who

had entered the Capitol without any security screening or weapons checks, Congressional

proceedings could not resume until after law enforcement had removed every unauthorized

                                                   11
        Case 1:21-cr-00175-TJK Document 336 Filed 04/08/22 Page 12 of 13




occupant from the Capitol and confirmed the building was secured. Accordingly, the proceedings

did not resume until approximately 8:00 p.m. on January 6, 2021, after the building had been

secured. Vice President Pence remained in the Capitol from the time he was evacuated from the

Senate Chamber until the session resumed.

       47.     The attack on the Capitol resulted in substantial damage, requiring the expenditure

of more than $1.4 million dollars for repairs.

                                Limited Nature of Factual Basis

       48.     This proffer of evidence is not intended to constitute a complete statement of all

facts known by Donohoe or the government. Rather, it is a limited statement of facts intended to

provide the necessary factual predicate for Donohoe’s guilty plea.




                                                 Respectfully submitted,

                                                 MATTHEW M. GRAVES
                                                 United States Attorney
                                                 DC Bar No. 481052


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                                                   12
          Case 1:21-cr-00175-TJK Document 336 Filed 04/08/22 Page 13 of 13




                           DEFENDANT'S ACKNOWLEDGMENT

        The preceding statement is a summary made for the purpose of providing the Court with
a factual basis for my guilty plea to the charges against me. I make this statement knowingly and
voluntarily, and I stipulate and agree that this Statement of Offense concerning my actions is true
and accurate. I have read every page of this Statement of Offense and have discussed it with my
attorneys, Lisa Costner and Ira Knight. I am fully satisfied with the legal services provided to me
in connection with this plea. No threats have been made to me nor am I under the influence of
anything that could impede my ability to understand this Statement of Offense fully.


Date: {)    l\ A.Ph )_C) d~
                                                                                    ----
                                                             Defendant




                             ATTORNEYS' ACKNOWLEDGMENT

        I have read this Statement of Offense and have reviewed it fully with my client, Charles
Donohoe. I concur in my client's desire to adopt and stipulate to this Statement of Offense as
true and accurate.



Date:   4-'-f-;)_:;)_                                          ~
                                                             Lisa Costner
                                                                                     ,,,,,,.___


                                                             Attorney for Charles Donohoe


Date:   f\~r,\ \..\ \~d-d-




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